                   UNI TED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                   Criminal No. 21-cr-173 (WMW/DTS)


UNITED STATES OF AMERICA,

                    Plaintiff,
                                     GOVERNMENT’S MOTION FOR
       v.
                                     DISCOVERY PURSUANT TO
                                     FEDERAL RULES OF CRIMINAL
(1) ANTON JOSEPH LAZZARO,
                                     PROCEDURE 16(b), 12.1, 12.2, 12.3
    a/k/a Tony Lazzaro,
                                     AND 26.2
    a/k/a Tony

                   Defendant.


      The United States of America, by and through its attorneys, W. Anders

Folk, Acting United States Attorney for the District of Minnesota, and Laura

M. Provinzino, Angela M. Munoz, and Emily A. Polachek, Assistant United

States Attorneys, hereby moves the Court:

      A.     For its order requiring Anton Joseph Lazzaro, the above-named

defendant (hereinafter defendant), pursuant to Rule 16(b) of the Federal Rules

of Criminal Procedure to disclose and to permit inspection and copying of the

following:

             1.   Documents and Tangible Objects:         All books, papers,

documents, photographs, tangible objects, or copies or portions thereof, which

are within the possession, custody, or control of the defendant and which the
defendant intends to introduce as evidence in chief at the trial of the above

captioned matter.

            2.      Reports of Examinations and Tests: All results and reports

of physical or mental examinations and of scientific tests or experiments made

in connection with the above captioned matter, or copies thereof, within the

possession or control of the defendant, which the defendant intends to

introduce as evidence in chief at the trial of the above captioned matter or

which were prepared by a witness whom the defendant intends to call at trial.

            3.      Expert Testimony: A written summary of testimony the

defendant intends to use under Rules 702, 703 and 705 of the Federal Rules of

Evidence as evidence at trial. This summary must describe the opinions of the

witnesses, the bases and reasons therefore, and the witnesses’ qualifications.

There is no specific timing requirement included in Rule 16(a)(1)(G). However,

the Advisory Committee’s Note provides that “it is expected that the parties

will make their requests and disclosures in a timely fashion.” Fed. R. Crim. P.

16 Advisory Committee’s Note, 1993 Amendments.               The government

respectfully requests that the Court order that expert disclosures for both

parties, if any, be made 30 days before trial. Such a timing requirement allows

the parties sufficient notice of the expected testimony and time to prepare a

focused cross-examination of the expert. See id. Such an order would also

provide the opposing party ample time to obtain a rebuttal expert and prepare


                                       2
a rebuttal report in advance of trial.      Accordingly, the government also

requests that any rebuttal experts be noticed, and any rebuttal expert

disclosures be produced to the opposing party, no later than 10 days before

trial.

         B.   Alibi: For its order pursuant to Rule 12.1 of the Federal Rules of

Criminal Procedure requiring the defendant, if he intends to claim alibi as a

defense, to state the specific place or places at which the defendant claims to

have been at the time of the alleged offenses in the above captioned matter and

the names and addresses of the witnesses upon whom the defendant intends

to rely to establish such alibi.

         C.   Insanity Defense/Mental Illness: For its order pursuant to Rule

12.2 of the Federal Rules of Criminal Procedure requiring the defendant, if he

intends to rely upon the defense of insanity or introduce expert testimony

relating to a mental disease or defect or any other mental condition of the

defendant bearing upon the issue of guilt, to give notice to the government no

later than the date of the first hearing on pretrial motions.

         D.   Public Authority:    For its order pursuant to Rule 12.3 of the

Federal Rules of Criminal Procedure requiring the defendant, if he intends to

rely upon a defense of actual or believed exercise of public authority on behalf

of a law enforcement agency or federal intelligence agency at the time of the




                                        3
offense, to give notice to the government and the Court no later than the date

of the first hearing on pretrial motions.

      E.      Witness Statements: For its order pursuant to Rule 26.2 of the

Federal Rules of Criminal Procedure requiring the defendant, to produce all

statements in his possession or control of any witness that the defendant calls

in connection with a suppression hearing, detention hearing, trial, or

sentencing.


Dated: August 13, 2021
                                            Respectfully Submitted,

                                            W. ANDERS FOLK
                                            Acting United States Attorney


                                            /s/ Angela M. Munoz

                                            BY: ANGELA M. MUNOZ
                                            Assistant U.S. Attorney




                                        4
